Case No. 1:16-cr-00284-PAB Document 73-1 filed 10/05/17 USDC Colorado                           pg
                                    1 of09/26/2017
         Case: 1:16-cr-00284-CMA As of:  8         10:14 AM MDT 1 of 8
                                                                                    APPEAL,TERMED
                             U.S. District Court
                       District of Colorado (Denver)
       CRIMINAL DOCKET FOR CASE #: 1:16−cr−00284−CMA All Defendants

  Case title: USA v. Iley                                    Date Filed: 08/24/2016
                                                             Date Terminated: 08/03/2017

  Assigned to: Judge Christine M.
  Arguello
  Appeals court case number:
  17−1269 USCA

  Defendant (1)
  Donald Iley                         represented by Gary Lozow
  TERMINATED: 08/03/2017                             Foster Graham Milstein & Calisher, LLP
                                                     360 South Garfield Street
                                                     6th Floor
                                                     Denver, CO 80209
                                                     303−333−9810
                                                     Fax: 303−333−9786
                                                     Email: glozow@fostergraham.com
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED
                                                     Designation: Retained

  Pending Counts                                    Disposition
                                                    Defendant committed to the custody of the Federal
                                                    Bureau of Prisons to be imprisoned for a total term
                                                    of ONE−HUNDRED AND FIFTY−ONE (151)
  18 U.S.C. § 1343 Wire Fraud                       MONTHS, to run concurrent to Count 28.
  (12)                                              Supervised Release of THREE (3) YEARS, to run
                                                    concurrent to Count 28. Special Assessment of
                                                    $100.00. Total Restitution of $9,718,327.68
                                                    Defendant committed to the custody of the Federal
                                                    Bureau of Prisons to be imprisoned for a total term
  26 U.S.C. § 7602(2) Aiding in the                 of THIRTY−SIX (36) MONTHS, to run concurrent
  Preparation of a False Tax Return                 to Count 12. Supervised Release of ONE YEAR , to
  (28)                                              run concurrent to Count 12. Special Assessment of
                                                    $100.00. Total Restitution of $9,718,327.68

  Highest Offense Level
  (Opening)
  Felony

  Terminated Counts                                 Disposition
  18 U.S.C. § 1343 Wire Fraud                       Dismissed on Motion of the Government
  (1−11)
  18 U.S.C. § 1341 Mail Fraud                       Dismissed on Motion of the Government
  (13−14)
  26 U.S.C. § 7602(2) Aiding in the
  Preparation of a False Tax Return                 Dismissed on Motion of the Government
  (15−27)
  26 U.S.C. § 7602(2) Aiding in the
  Preparation of a False Tax Return                 Dismissed on Motion of the Government
  (29−32)
Case No. 1:16-cr-00284-PAB Document 73-1 filed 10/05/17 USDC Colorado                            pg
                                    2 of09/26/2017
         Case: 1:16-cr-00284-CMA As of:  8         10:14 AM MDT 2 of 8

  Highest Offense Level
  (Terminated)
  Felony

  Complaints                                          Disposition
  None


  Plaintiff
  USA                                           represented by J. Chris Larson
                                                               U.S. Attorney's Office−Denver
                                                               1801 California Street
                                                               Suite 1600
                                                               Denver, CO 80202
                                                               303−454−0252
                                                               Fax: 303−454−0408
                                                               Email: j.chris.larson@usdoj.gov
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Designation: Federal Agency Attorney

                                                                Tonya Shotwell Andrews
                                                                U.S. Attorney's Office−Denver
                                                                1801 California Street
                                                                Suite 1600
                                                                Denver, CO 80202
                                                                303−454−0100
                                                                Fax: 303−454−0402
                                                                Email: Tonya.Andrews@usdoj.gov
                                                                ATTORNEY TO BE NOTICED
                                                                Designation: Federal Agency Attorney

   Date Filed    #   Docket Text
   08/24/2016     1 INDICTMENT as to Donald Iley (1) count(s) 1−12, 13−14, 15−32. (Attachments: # 1
                    Penalty Sheet) (athom, ) (Entered: 08/24/2016)
   08/24/2016     2 RESTRICTED DOCUMENT − Level 4 as to Donald Iley. (athom, ) (Entered:
                    08/24/2016)
   08/24/2016     3 Summons Issued as to Donald Iley. Initial Appearance set for 9/7/2016 02:00 PM in
                    Courtroom C201 before Magistrate Judge Kathleen M. Tafoya. (athom, ) (Entered:
                    08/24/2016)
   09/07/2016     4 MINUTE ENTRY/ORDER for proceedings held before Magistrate Judge Kathleen M.
                    Tafoya: Initial Appearance as to Donald Iley held on 9/7/2016. Defendant present on
                    summons. Defendant advised. Bond set as to Donald Iley (1) Personal Recognizance.
                    Defendant to forthwith surrender Passport to the Clerk's Office. Arraignment /
                    Discovery Hearing set for 9/14/2016 10:00 AM in Courtroom C201 before Magistrate
                    Judge Kathleen M. Tafoya. (Total time: 14 minutes, Hearing time: 2:04 − 2:18)

                     APPEARANCES: Chris Larson on behalf of the Government, Gary Lozow on behalf
                     of Defendant, Michele Sinaka on behalf of pretrial. Court Reporter: FTR − E. E.
                     Miller. FTR: Courtroom C201. (emill) Text Only Entry (Entered: 09/07/2016)
   09/07/2016     5 Personal Recognizance Bond Entered as to Donald Iley (emill) (Entered: 09/07/2016)
   09/07/2016     6 ORDER Setting Conditions of Release as to Donald Iley (1) Personal Recognizance
                    Bond by Magistrate Judge Kathleen M. Tafoya on 9/7/2016. (emill) (Entered:
                    09/07/2016)
Case No. 1:16-cr-00284-PAB Document 73-1 filed 10/05/17 USDC Colorado                                pg
                                    3 of09/26/2017
         Case: 1:16-cr-00284-CMA As of:  8         10:14 AM MDT 3 of 8
  09/12/2016    7 Passport Receipt as to Donald Iley. Surrender of passport re Bond Conditions; Passport
                  Number 307697522 issued by USA. (athom, ) (Entered: 09/12/2016)
  09/14/2016    8 COURTROOM MINUTES for Arraignment and Discovery Hearing as to Donald Iley
                  held on 9/14/2016 before Magistrate Judge Kathleen M. Tafoya. Defendant present on
                  bond. Plea of NOT GUILTY entered by defendant. Discovery memorandum executed.
                  Mr. Larson states there is a typo on the penalty sheet with respect to a statutory
                  reference. Defendant's bond continued. Counsel is directed to chambers. (Total time: 5
                  mins, Hearing time: 1006−1011)

                   APPEARANCES: Chris Larson on behalf of the Government, Gary Lozow on behalf
                   of the defendant, Angela Ledesma on behalf of pretrial. FTR: KMT C201. (sgrim)
                   Text Only Entry (Entered: 09/14/2016)
  09/14/2016    9 Discovery Conference Memorandum and ORDER: Estimated Trial Time − 10 days as
                  to Donald Iley by Magistrate Judge Kathleen M. Tafoya on 9/14/16. (sgrim) (Entered:
                  09/14/2016)
  09/14/2016   10 ORDER as to Donald Iley. Pretrial motions due by September 28, 2016. Responses
                  due by October 12, 2016. If counsel believe an evidentiary hearing on motions is
                  necessary, they shall confer and e−mail Chambers at
                  arguello_chambers@cod.uscourts.gov no later than October 14, 2016 to set such a
                  hearing. Final Trial Preparation Conference OR Change of Plea Hearing set for
                  October 25, 2016, at 2:00 PM in Courtroom A602 before Judge Christine M. Arguello.
                  Ten−day Jury Trial set for November 7, 2016, at 8:00 AM, with Jury Selection
                  scheduled for October 31, 2016, at 1:30 PM, in Courtroom A602, before Judge
                  Christine M. Arguello. FURTHER ORDERED, the Court will not consider any motion
                  related to the disclosure or production of discovery that is addressed by the Discovery
                  Order and/or Fed.R.Crim.P.16, unless Counsel for the moving party, prior to filing the
                  motion, has conferred or made reasonable, good−faith efforts to confer with opposing
                  counsel in an effort to attempt to resolve the disputed matter, e.g., questions or
                  disputes relating to the scope and/or timing of disclosure of such discovery. If the
                  parties are able to resolve the dispute, the Motion shall be entitled Unopposed Motion
                  for _______, and the parties shall submit the proposed order the parties wish the Court
                  to enter. If the parties are unable to resolve the dispute, the moving party shall state in
                  the Motion the specific efforts that were taken to comply with this Order to Confer.
                  FURTHER ORDERED, parties are expected to comply with this Court's Criminal
                  Practice Standards (see www.cod.uscourts.gov, under tab Court Operations/Rules &
                  Procedures/Judicial Practice Standards). SO ORDERED BY Judge Christine M.
                  Arguello on 9/14/2016. Text Only Entry (vbarn) (Entered: 09/14/2016)
  09/27/2016   11 Unopposed MOTION to Continue Motion For Ends of Justice Continuance of Trial by
                  Donald Iley. (Lozow, Gary) (Entered: 09/27/2016)
  09/28/2016   12 ORDER granting 11 Motion to Continue and 180 day ends of justice continuance as to
                  Donald Iley. Motions due by 3/6/2017. Responses due by 3/20/2017. The Final Trial
                  Preparation Conference/Change of Plea Hearing set for 10/25/2016, is VACATED and
                  RESET to 4/18/2017, at 03:00 PM in Courtroom A 602 before Judge Christine M.
                  Arguello. The ten−day Jury Trial set to begin on 10/31/2016, is VACATED and
                  RESET to 5/8/2017, at 08:00 AM, with jury selection scheduled for 5/1/2017, in
                  Courtroom A 602 before Judge Christine M. Arguello. By Judge Christine M.
                  Arguello on 09/28/2016. (athom, ) (Entered: 09/28/2016)
  02/01/2017   13 NOTICE of Change of Address/Contact Information (Larson, J.) (Entered:
                  02/01/2017)
  03/20/2017   14 NOTICE of Disposition by Donald Iley (Lozow, Gary) (Entered: 03/20/2017)
  03/21/2017   15 ORDER as to Donald Iley re: Notice of Disposition 14 . The Court AFFIRMS the
                  Change of Plea Hearing set for Defendant on 4/18/2017 at 3:00 PM in Courtroom
                  A602 before Judge Christine M. Arguello. This Change of Plea Hearing is set in lieu
                  of the Final Trial Preparation Conference, which, along with the trial date, will remain
                  as scheduled, and will not be vacated until Defendant's plea is entered and accepted by
                  the Court. Counsel for the parties shall deliver a courtesy copy of the Plea Agreement
                  to Judge Arguello's chambers, via email or fax, no less than 72 hours before the
                  Change of Plea Hearing. If a courtesy copy is not timely submitted, the hearing may be
                  vacated. The original and one copy of the Statement by Defendant in Advance of
Case No. 1:16-cr-00284-PAB Document 73-1 filed 10/05/17 USDC Colorado                               pg
                                    4 of09/26/2017
         Case: 1:16-cr-00284-CMA As of:  8         10:14 AM MDT 4 of 8

                   Change of Plea and Plea Agreement should be delivered to the courtroom deputy in
                   the courtroom at the time of the hearing (D.C.COLO.LCrR 11.1(e)(1)). FURTHER
                   ORDERED that defense counsel who has reviewed and advised Defendant regarding
                   the facts, discovery and plea agreement must attend this Change of Plea Hearing. SO
                   ORDERED BY Judge Christine M. Arguello on 3/21/2017. Text Only Entry (cmasec)
                   (Entered: 03/21/2017)
  04/03/2017   16 MOTION for Extension of Time to File Jury Instructions, Exhibit List, and Witness
                  List by USA as to Donald Iley. (Larson, J.) (Entered: 04/03/2017)
  04/03/2017   17 ERRATA to 16 MOTION for Extension of Time to File Jury Instructions, Exhibit List,
                  and Witness List by USA as to Donald Iley (Attachments: # 1 Corrected Motion to
                  Extend Filing Deadlines)(Larson, J.) (Entered: 04/03/2017)
  04/03/2017   18 ORDER granting 16 Motion for Extension of Time. Proposed Jury Instructions due
                  4/21/2017; Exhibit and Witness Lists due 4/28/2017. SO ORDERED by Judge
                  Christine M. Arguello on 4/3/2017. Text Only Entry (cmasec) (Entered: 04/03/2017)
  04/18/2017   20 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello: Change
                  of Plea Hearing as to Donald Iley held on 4/18/2017. Plea entered by Defendant,
                  Guilty as to Counts 12 and 28 of the Indictment. Sentencing set for 7/13/2017 03:00
                  PM in Courtroom A 602 before Judge Christine M. Arguello. All other dates are
                  vacated and any pending motions are denied as moot. The US Probation Office shall
                  prepare a Presentence Report. Counsel shall file their sentencing positions and all
                  motions at least 14 days before the sentencing date; responses or objections shall be
                  filed no later than seven days before the sentencing date. Failure to timely file these
                  pleadings may result in a continuance of the sentencing date. Defendant present on
                  bond, Defendant's bond continued, (Total time: 31 Minutes, Hearing time: 2:59 p.m.
                  −− 3:30 p.m.)

                   APPEARANCES: J. Chris Larson on behalf of the Government; Gary Lozow on
                   behalf of the Defendant. ALSO PRESENT: George Warnock, IRS Special Agent.
                   Court Reporter: Darlene Martinez. (swest) Text Only Entry (Entered: 04/18/2017)
  04/18/2017   21 PLEA AGREEMENT as to Donald Iley. (swest) (Entered: 04/18/2017)
  04/18/2017   22 STATEMENT IN ADVANCE OF PLEA OF GUILTY by Defendant Donald Iley.
                  (swest) (Entered: 04/18/2017)
  06/09/2017   23 RESTRICTED PRESENTENCE REPORT first disclosure for attorney review as to
                  Donald Iley (Attachments: # 1 Exhibit B, # 2 Exhibit C, # 3 Exhibit D, # 4 Exhibit
                  E)(doden, ) (Entered: 06/09/2017)
  06/19/2017   24 Unopposed MOTION for Extension of Time to File Response/Reply to Presentence
                  Report by Donald Iley. (Lozow, Gary) (Entered: 06/19/2017)
  06/20/2017   25 ORDER granting 24 Unopposed Motion for Extension of Time to Respond. Defendant
                  shall have up to and including 7/3/2017 within which to respond to the Presentence
                  Report. SO ORDERED by Judge Christine M. Arguello on 6/20/2017. Text Only
                  Entry (cmasec) (Entered: 06/20/2017)
  06/20/2017   26 Unopposed MOTION for Extension of Time to File Response/Reply as to 23
                  Restricted Presentence Report − Attorney Disclosure by USA as to Donald Iley.
                  (Larson, J.) (Entered: 06/20/2017)
  06/21/2017   27 ORDER granting 26 Unopposed Motion for Extension of Time to File Response. The
                  Government shall have up to and including 7/3/2017 within which to respond to the
                  Presentence Report. SO ORDERED by Judge Christine M. Arguello on 6/21/2017.
                  Text Only Entry (cmasec) (Entered: 06/21/2017)
  06/29/2017   28 NOTICE OF ATTORNEY APPEARANCE Tonya Shotwell Andrews appearing for
                  USA. Attorney Tonya Shotwell Andrews added to party USA(pty:pla) (Andrews,
                  Tonya) (Entered: 06/29/2017)
  06/29/2017   29 MOTION for Forfeiture of Property FOR PRELIMINARY ORDER OF FORFEITURE
                  FOR A PERSONAL MONEY JUDGMENT by USA as to Donald Iley. (Attachments: #
                  1 Proposed Order (PDF Only))(Andrews, Tonya) (Entered: 06/29/2017)
Case No. 1:16-cr-00284-PAB Document 73-1 filed 10/05/17 USDC Colorado                            pg
                                    5 of09/26/2017
         Case: 1:16-cr-00284-CMA As of:  8         10:14 AM MDT 5 of 8
  06/29/2017   30 MOTION to Dismiss Counts by USA as to Donald Iley. (Larson, J.) (Entered:
                  06/29/2017)
  06/29/2017   31 MOTION for Order for Reduction for Acceptance of Responsibility by USA as to
                  Donald Iley. (Larson, J.) (Entered: 06/29/2017)
  06/29/2017   32 SENTENCING STATEMENT by USA as to Donald Iley (Attachments: # 1
                  Attachment A)(Larson, J.) (Entered: 06/29/2017)
  06/29/2017   33 AMENDED DOCUMENT by USA as to Donald Iley Amendment to 32 Sentencing
                  Statement filed by USA Attachment A, Govt's Sentencing Statement (Attachments: # 1
                  Exhibit Attachment A, 2010 Order)(Larson, J.) (Entered: 06/29/2017)
  06/30/2017   34 RESTRICTED DOCUMENT − Level 1: by Donald Iley. (Lozow, Gary) (Entered:
                  06/30/2017)
  06/30/2017   35 RESTRICTED DOCUMENT − Level 1: by Donald Iley. (Attachments: # 1 Exhibit
                  Letters in Support)(Lozow, Gary) (Entered: 06/30/2017)
  07/03/2017   36 RESPONSE by USA as to Donald Iley re: 23 Restricted Presentence Report −
                  Attorney Disclosure, 27 Order on Motion for Extension of Time to File
                  Response/Reply, (Larson, J.) (Entered: 07/03/2017)
  07/07/2017   37 RESTRICTED PRESENTENCE REPORT as to Donald Iley (Attachments: # 1
                  Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D)(ntaka) (Entered: 07/07/2017)
  07/07/2017   38 RESTRICTED ADDENDUM to Presentence Report 37 as to Donald Iley
                  (Attachments: # 1 Exhibit A)(ntaka) (Entered: 07/07/2017)
  07/09/2017   39 RESPONSE by USA as to Donald Iley re: 34 Restricted Document − Level 1 filed by
                  Donald Iley (Regarding Application of Section 2B1.1(b)(9)(C)) (Larson, J.) (Entered:
                  07/09/2017)
  07/10/2017   40 PRELIMINARY ORDER OF FORFEITURE FOR A PERSONAL MONEY
                  JUDGMENTAGAINST DEFENDANT DONALD ILEY as to Donald Iley. By Judge
                  Christine M. Arguello on 07/10/2017. (athom, ) (Entered: 07/10/2017)
  07/11/2017   41 ORDER as to Donald Iley: Sentencing set for 7/13/2017 is RESET IN TIME ONLY to
                  02:00 PM in Courtroom A 602 before Judge Christine M. Arguello. SO ORDERED by
                  Judge Christine M. Arguello on 7/11/2017. Text Only Entry (cmasec) (Entered:
                  07/11/2017)
  07/11/2017   42 RESTRICTED SECOND ADDENDUM to Presentence Report 37 as to Donald Iley
                  (Attachments: # 1 Exhibit A)(doden, ) (Entered: 07/11/2017)
  07/11/2017   43 RESPONSE by USA as to Donald Iley re: 37 Restricted Presentence Report − Final
                  Response Regarding Estimate of Restitution (Larson, J.) (Entered: 07/11/2017)
  07/12/2017   44 RESTRICTED THIRD ADDENDUM to Presentence Report 37 as to Donald Iley
                  (aarag, ) (Entered: 07/12/2017)
  07/13/2017   45 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello:
                  Sentencing held on 7/13/2017 as to Defendant Donald Iley. Statements by Harry
                  Neumann, Paul Donovan, John King, Richard W.C. Jr., Ted Merriam, Jay Moskowitz,
                  Curtis Snowden, Susan Hinnen, Steven Adelman, Dan Dorenkamb, Anna Sais, Alex
                  Liesegang, Joe Van Dyke, and Gail Roberts. ORDERED: Granting 31 Governments
                  Motion for Order for Reduction for Acceptance of Responsibility FURTHER
                  ORDERED: Sentencing Hearing continued to 07/25/2017 at 3:00 p.m. in Courtroom A
                  602 before Judge Christine M. Arguello. Defendant present on bond; Defendant
                  remanded. (Total time: 1:10, Hearing time: 2:03 p.m. − 3:22 p.m.)

                   APPEARANCES: J. Chris Larson on behalf of the Government; Gary Lozow on
                   behalf of the Defendant; MariJo Paul on behalf of Probation. Court Reporter: Darlene
                   Martinez. (swest) Text Only Entry. Modified on 7/14/2017 to correct Sentencing
                   Hearing date. (swest) (Entered: 07/13/2017)
  07/14/2017   46 Partial TRANSCRIPT of Sentencing Hearing − Proposed Findings as to Donald Iley
                  held on 7/13/17 before Judge Arguello. Pages: 1−27. <br><br> NOTICE −
                  REDACTION OF TRANSCRIPTS: Within seven calendar days of this filing,
Case No. 1:16-cr-00284-PAB Document 73-1 filed 10/05/17 USDC Colorado                             pg
                                    6 of09/26/2017
         Case: 1:16-cr-00284-CMA As of:  8         10:14 AM MDT 6 of 8

                   each party shall inform the Court, by filing a Notice of Intent to Redact, of the
                   party's intent to redact personal identifiers from the electronic transcript of the
                   court proceeding. If a Notice of Intent to Redact is not filed within the allotted
                   time, this transcript will be made electronically available after 90 days. Please see
                   the Notice of Electronic Availability of Transcripts document at
                   www.cod.uscourts.gov.<br><br> Transcript may only be viewed at the court public
                   terminal or purchased through the Court Reporter/Transcriber prior to the 90 day
                   deadline for electronic posting on PACER. (dmart, ) (Entered: 07/14/2017)
  07/21/2017   47 ORDER: This matter is before the Court sua sponte. It is ORDERED that the Clerk of
                  the Court is directed to unrestrict Docs. ## 34 and 35 for failure to comply with the
                  requirements of D.C.COLO.LCrR 47.1, despite repeated requests from the court. SO
                  ORDERED by Judge Christine M. Arguello on 7/21/2017. Text Only Entry (cmasec)
                  (Entered: 07/21/2017)
  07/21/2017   48 MOTION for Leave to Restrict by Donald Iley. (Lozow, Gary) (Entered: 07/21/2017)
  07/24/2017   49 RESTRICTED FOURTH ADDENDUM to Presentence Report 37 as to Donald Iley
                  (doden, ) (Entered: 07/24/2017)
  07/24/2017   50 MOTION for Leave to Restrict by Donald Iley. (Lozow, Gary) (Entered: 07/24/2017)
  07/24/2017   51 RESTRICTED DOCUMENT − Level 2: as to Donald Iley. (Attachments: # 1 Exhibit
                  A to Defendant's Second Supplemental Submission to Sentencing Memorandum, # 2
                  Exhibit B to Defendant's Second Supplemental Submission to Sentencing
                  Memorandum, # 3 Exhibit C to Defendant's Second Supplemental Submission to
                  Sentencing Memorandum, # 4 Exhibit D to Defendant's Second Supplemental
                  Submission to Sentencing Memorandum, # 5 Exhibit E to Defendant's Second
                  Supplemental Submission to Sentencing Memorandum)(Lozow, Gary) (Entered:
                  07/24/2017)
  07/25/2017   52 MOTION to Amend/Correct Preliminary Order of Forfeiture by USA as to Donald
                  Iley. (Attachments: # 1 Proposed Order (PDF Only))(Andrews, Tonya) (Entered:
                  07/25/2017)
  07/25/2017   53 AMENDED PRELIMINARY ORDER OF FORFEITURE AGAINST DEFENDANT
                  DONALD ILEY as to Donald Iley re 52 Motion to Amend/Correct. By Judge
                  Christine M. Arguello on 07/25/2017. (athom, ) (Entered: 07/25/2017)
  07/25/2017   54 RESTRICTED DOCUMENT − Level 2: as to Donald Iley. (Lozow, Gary) (Entered:
                  07/25/2017)
  07/25/2017   55 MOTION to Modify 51 Restricted Document − Level 2,, Defendant's Motion to
                  Renumber Exhibits by Donald Iley. (Lozow, Gary) (Entered: 07/25/2017)
  07/25/2017   56 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello:
                  Sentencing held on 7/25/2017 as to Defendant Donald Iley. ORDERED: Granting 30
                  Government's Motion to Dismiss Counts. Defendant sentenced as reflected on the
                  record. Defendant present in custody; Defendant remanded. (Total time: 58 Minutes,
                  Hearing time: 3:05 p.m. −− 4:03 p.m.)

                   APPEARANCES: J. Chris Larson on behalf of the Government; Gary Lozow on
                   behalf of the Defendant; MariJo Paul on behalf of Probation. Court Reporter: Darlene
                   Martinez. (swest) Text Only Entry (Entered: 07/26/2017)
  07/27/2017   57 ORDER GRANTING 48 Motion for Leave to Restrict. Docs. ## 34 and 35 , all
                  exhibits attached thereto, and any orders that may reveal the contents of these
                  documents shall have a Level 2 Restriction. SO ORDERED by Judge Christine M.
                  Arguello on 7/27/2017. Text Only Entry (cmasec) (Entered: 07/27/2017)
  07/27/2017   58 ORDER denying 55 Motion to Modify as to Donald Iley (1). SO ORDERED by Judge
                  Christine M. Arguello on 7/27/2017. Text Only Entry (cmasec) (Entered: 07/27/2017)
  07/28/2017   59 ORDER granting 50 Motion for Leave to Restrict. Docs. ## 51 and 54 , all exhibits
                  attached thereto, and any orders that may reveal the contents of these documents shall
                  have a Level 2 Restriction. SO ORDERED by Judge Christine M. Arguello on
                  7/28/2017. Text Only Entry (cmasec) (Entered: 07/28/2017)
Case No. 1:16-cr-00284-PAB Document 73-1 filed 10/05/17 USDC Colorado                             pg
                                    7 of09/26/2017
         Case: 1:16-cr-00284-CMA As of:  8         10:14 AM MDT 7 of 8
  07/28/2017   60 TRANSCRIPT of Change of Plea Hearing as to Donald Iley held on 4/18/17 before
                  Judge Arguello. Pages: 1−39. <br><br> NOTICE − REDACTION OF
                  TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                  inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                  redact personal identifiers from the electronic transcript of the court proceeding.
                  If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                  will be made electronically available after 90 days. Please see the Notice of
                  Electronic Availability of Transcripts document at
                  www.cod.uscourts.gov.<br><br> Transcript may only be viewed at the court public
                  terminal or purchased through the Court Reporter/Transcriber prior to the 90 day
                  deadline for electronic posting on PACER. (dmart, ) (Entered: 07/28/2017)
  08/01/2017   61 RESTRICTED ADDENDUM AFTER SENTENCING to Presentence Report 37 as to
                  Donald Iley (doden, ) (Entered: 08/01/2017)
  08/03/2017   62 NOTICE OF APPEAL as to 56 Minute Entry, 63 Judgment by Donald Iley. ( Filing
                  fee $ 505, Receipt Number 1082−5646937) (Lozow, Gary) Modified on 8/3/2017 to
                  correct text and create linkage (athom, ). (Entered: 08/03/2017)
  08/03/2017   63 JUDGMENT as to defendant Donald Iley (1): Counts 1−11, 13−14, 15−27, and
                  29−32, Dismissed on Motion of the Government; Count 12, Defendant committed to
                  the custody of the Federal Bureau of Prisons to be imprisoned for a total term of
                  ONE−HUNDRED AND FIFTY−ONE (151) MONTHS, to run concurrent to Count
                  28. Supervised Release of THREE (3) YEARS, to run concurrent to Count 28. Special
                  Assessment of $100.00. Total Restitution of $9,718,327.68; Count 28, Defendant
                  committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
                  term of THIRTY−SIX (36) MONTHS, to run concurrent to Count 12. Supervised
                  Release of ONE YEAR, to run concurrent to Count 12. Special Assessment of
                  $100.00. Total Restitution of $9,718,327.68. SO ORDERED by Judge Christine M.
                  Arguello on 8/3/2017. (cmasec) (Entered: 08/03/2017)
  08/03/2017   64 STATEMENT OF REASONS as to Donald Iley. (cmasec) (Entered: 08/03/2017)
  08/03/2017   65 LETTER Transmitting Notice of Appeal to all counsel advising of the transmittal of
                  the 62 Notice of Appeal as to Donald Iley to the U.S. Court of Appeals. ( Retained
                  Counsel, Fee paid,) (Attachments: # 1 Docket Sheet, # 2 Preliminary Record) (athom, )
                  (Entered: 08/03/2017)
  08/03/2017   66 USCA Case Number 17−1269 as to Donald Iley for 62 Notice of Appeal filed by
                  Donald Iley. (athom, ) (Entered: 08/03/2017)
  08/07/2017   67 MOTION for Leave to Appeal In Forma Pauperis by Donald Iley. (Lozow, Gary)
                  (Entered: 08/07/2017)
  08/11/2017   68 ORDER denying 67 Motion for Leave to Appeal In Forma Pauperis re 62 Notice of
                  Appeal as to Donald Iley. By Judge Christine M. Arguello on 08/11/2017. (athom, )
                  (Entered: 08/15/2017)
  08/18/2017   69 ORDER of USCA as to Donald Iley re 62 Notice of Appeal. Appellant shall renew in
                  the district court his motion to proceed in forma pauperis on appeal. Because
                  Appellant's retained counsel has already paid the $505 filing and docketing fee, his
                  renewed motion shall be filed for the sole purpose of determining Appellant's financial
                  eligibility for appointment of counsel under the Criminal Justice Act. (USCA Case No.
                  17−1269) (athom, ) (Entered: 08/18/2017)
  09/12/2017   70 Renewed MOTION to Proceed in Forma Pauperis by Donald Iley. (Attachments: # 1
                  Exhibit A to Renewed Motion to Proceed In Forma Pauperis, # 2 Exhibit B to
                  Renewed Motion to Proceed In Forma Pauperis)(Lozow, Gary) Modified on 9/13/2017
                  to add a Level 3 Restriction to 70−1 (athom, ). (Entered: 09/12/2017)
  09/13/2017   71 ORDER Finding Defendant Unable to Obtain Counsel Pursuant to 18 U.S.C. § 3006A
                  as to Donald Iley re 70 Renewed MOTION to Proceed in Forma Pauperis. The Court
                  finds that Defendant Iley is financially unable to obtain counsel. By Judge Christine
                  M. Arguello on 09/13/2017. (athom, ) (Entered: 09/13/2017)
  09/15/2017   72 ORDER of USCA granting Attorney Gary Lozow's motion to withdraw as attorney for
                  the appellant and appointing The Federal Public Defender for the Districts of Colorado
                  and Wyoming (FPD) to represent appellant as to Donald Iley re 62 Notice of Appeal.
Case No. 1:16-cr-00284-PAB Document 73-1 filed 10/05/17 USDC Colorado      pg
                                    8 of09/26/2017
         Case: 1:16-cr-00284-CMA As of:  8         10:14 AM MDT 8 of 8

                 (USCA Case No. 17−1269) (athom, ) (Entered: 09/15/2017)
